 

Case 1:23-cv-00124-TBM-BWR Document 2-3 Filed 05/18/23 Page 1 of 1

  

° J. Booth, Assistant Principal

pi
! 4
L ee SON ee DISTRICT « J. Rankin, Assistant Principal
Sie Harrison Central High School K. Reece, Assistant Principal
| = i C. Spencer, Assistant Principal
me” KELLY FULLER, M. ED., PRINCIPAL M. Fayard, Instructional Coach

e R. Wilson, Instructional Coach

 

Dear Parents and Graduates,

First and foremost, we would like to congratulate you on this accomplishment. There are several
important pieces of information that you will need to know regarding the Graduation Ceremony
on Saturday, May 20, 2023 at 6:30pm.

1. All graduates must adhere to the Harrison County School District dress code (i.e. no
piercings other than earlobes, etc.) and the Harrison Central High School Graduation
Dress Code. Girls must wear a white dress and white dress shoes (no tennis shoes). Boys
must wear a white button-down shirt, black dress pants, black dress shoes (no tennis
shoes) and a tie or bowtie.

2. Students are not allowed to alter the graduation cap or gown in any way. Do not decorate

the cap, etc.

Honor stoles and medals will be handed out at the Coliseum.

4. Graduates will report to Hall C in the Convention Center through the South Arcade
Lobby no later than 5:00pm.

5. Graduates will have to pass through a metal detector to gain access to the Convention
Center. i 3 : ta

Parents cannot accompany Graduates inside the Convention Center.

Students should leave all belongings with their guests. There will not be a place to store

personal belongings. Once we exit the Convention Center, we will not be allowed to

return. Students are not allowed to bring purses, bags, etc. onto the Coliseum floor.

8. Guests may begin entering the Coliseum at 5:00pm. All guests will have to pass through
the metal detectors before entering the Coliseum,

9. No balloons, air horns, noise makers, etc. will be allowed inside the Coliseum.

10. Students will walk across the stage to receive their diploma cover. Any gesture (i.e.
dancing, hand signals, etc.) could result in your child’s diploma being held.

11. Once the graduation ceremony is over, students and guests will be dismissed by sections.
Everyone will meet in the parking lot. There can be no loitering in the Coliseum or in the
parking lot.

12. Graduates should pick up their diplomas at HCHS on Monday, May 22, 2023 or Tuesday,
May 23, 2023. Diplomas can be picked up between 8:30am — 3:00pm.

uo

oT BN

15600 School Road: Gulfport, MS 39503
PHONE -~ (228) 832-2610- FAX — (228) 832-7433
